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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

LOUISETTE GEISS, SARAH ANN THOMAS                        Case No. 1:17-cv-09554-AKH
(a/k/a SARAH ANN MASSE), MELISSA
THOMPSON, MELISSA SAGEMILLER,
NANNETTE KLATT, KATHERINE
KENDALL, ZOE BROCK,CAITLIN
DULANY, LARISSA GOMES, and JANE
DOE, individually and on behalf of all others            NOTICE OF MOTION
similarly situated,

               Plaintiffs,

               v.

THE WEINSTEIN COMPANY HOLDINGS,
LLC, MIRAMAX FILM NY LLC, THE WALT
DISNEY COMPANY, DISNEY
ENTERPRISES, INC., BUENA VISTA
INTERNATIONAL, INC., HARVEY
WEINSTEIN, ROBERT WEINSTEIN, DIRK
ZIFF, TIM SARNOFF, MARC LASRY,
TARAK BEN AMMAR, LANCE MAEROV,
RICHARD KOENIGSBERG, PAUL TUDOR
JONES, JEFF SACKMAN, JAMES DOLAN,
MICHAEL EISNER, IRWIN REITER, DAVID
GLASSER, FRANK GIL, RICK SCHWARTZ,
FABRIZIO LOMBARDO, MARK GILL,
NANCY ASHBROOKE, MIRAMAX DOES 1-
10, TALENT AGENCY DOES 1-100, and
JOHN DOES 1-50, inclusive,


               Defendants.

       PLEASE TAKE NOTICE that upon all prior pleadings and proceedings herein, and the

accompanying Memorandum of Law, the undersigned will move this Court, on a date to be

determined by the Court, for an Order granting entry of a final judgment pursuant to Fed. R. Civ.

P. 54(b) with respect to Plaintiff Zoe Brock.




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Dated: August 24, 2020


                                    Respectfully Submitted,

                                           /s/ Daniel D. Williams
                                    Daniel D. Williams
                                    John C. Clune
                                    Hutchinson Black and Cook, LLC
                                    921 Walnut Street, Suite 200
                                    Boulder, CO 80302
                                    Phone: (303) 442-6514
                                    williams@hbcboulder.com
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                                CERTIFICATE OF SERVICE

       I, Daniel D. Williams, an attorney, affirm that the foregoing was filed on this day on ECF,
which automatically served all counsel of record.



       Dated: August 24, 2020

                                             Respectfully Submitted,

                                                    /s/ Daniel D. Williams
                                             Daniel D. Williams
                                             Hutchinson Black and Cook, LLC
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